  Case 22-16751-JNP            Doc 67      Filed 05/16/23 Entered 05/16/23 16:41:48             Desc Main
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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Attorneys for Maureen P. Steady, as Chapter 7 Trustee



                                                                Case No.:      ___________________
                                                                                    22-16751
In Re:
TNT RENTAL, LLC,                                                Chapter:       ___________________
                                                                                        7

                Debtor.                                         Hearing Date: ___________________
                                                                                 May 23, 2023
                                                                Judge:          ___________________
                                                                                    Poslusny,Jr.


                                           STATUS CHANGE FORM

   Pursuant to D.N.J. LBR 9013-3, the undersigned notifies the court that the matter identified below
   has been:

                                 Settled               Withdrawn

   Matter: ___________________________________________________________________________
           Motion of Maureen P. Steady, as Chapter 7 Trustee, for an Order Surcharging

   __________________________________________________________________________________
   Collateral of U.S. Small Business Administration Pursuant to 11 U.S.C. Section 506(c)



   Date: ______________________
         May 16, 2023                                       ________________________________
                                                            /s/Jeffrey Kurtzman
                                                            Signature




                                                                                                    rev.8/1/15
